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            EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE



    NATIONAL EDUCATION
    ASSOCIATION; et al.,

                                   Plaintiffs,             Case No. 1:25-cv-00091-LM

                v.                                         DECLARATION OF SARAH HINGER
                                                           IN SUPPORT OF PLAINTIFFS’
                                                           EMERGENCY MOTION FOR
    UNITED STATES DEPARTMENT OF                            TEMPORARY RESTRAINING ORDER
    EDUCATION; et al.,

                                   Defendants.




           Sarah Hinger, pursuant to the penalty of perjury under 28 U.S.C. § 1746, does hereby

state the following:

           I am an attorney with the American Civil Liberties Union Foundation and counsel to

Plaintiffs in this action. I submit this Declaration in support of Plaintiffs’ Emergency Motion for

Temporary Restraining Order.

           Attached are true and correct copies of the following exhibits referenced in the

Memorandum in Support of Plaintiffs’ Emergency Motion for Temporary Restraining Order:1

           A.        U.S. Dep’t of Educ., Reminder of Legal Obligations Undertaken in Exchange for

                     Receiving Federal Financial Assistance and Request for Certification under Title

                     VI and SFFA v. Harvard (Apr. 3, 2025), https://perma.cc/A8VQ-JRZB.

           B.        N.H. Dep’t of Educ., Certification Requirement Directions (Apr. 3, 2025).




1
    Lengthy exhibits marked with an asterisk have been excerpted.

                                                          1
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       C.     Press Release, U.S. Dep’t of Educ., ED Requires K-12 School Districts to Certify

              Compliance with Title VI and Students v. Harvard as a Condition of Receiving

              Federal Financial Assistance (Apr. 3, 2025), https://perma.cc/6UKX-7E66.

       D.     New York State Revised State Template for the Consolidated State Plan: The

              Elementary and Secondary Education Act of 1965, as Amended by the Every

              Students Succeed Act (2024).*

       E.     Massachusetts Consolidated State Plan Under the Every Students Succeeds Act

              (ESSA) October 2024 (2024).*

       F.     Letter from Daniel Morton-Bentley, Counsel & Deputy Comm’r, N.Y. State

              Educ. Dep’t, to U.S. Dep’t of Educ., Off. of C.R. (Apr. 4, 2025).

       G.     Memorandum from Lindsey Labonville, Adm’r, Bureau of Fed. Compliance,

              N.H. Dep’t of Educ., on General Assurances FY 2026 to Senior Education

              Officials (Apr. 4, 2025).

       H.     Mandatory Supplement Questionnaire.

Dated: April 7, 2025

                                                           /s/ Sarah Hinger
                                                           Sarah Hinger*
                                                           American Civil Liberties Union
                                                           Foundation
                                                           125 Broad Street, 18th Floor
                                                           New York, NY 10004
                                                           (212) 519-7882
                                                           shinger@aclu.org



                                                           *Admitted pro hac vice




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